             Case 4:21-cv-07069-YGR Document 10 Filed 10/27/21 Page 1 of 6




 1   APRIL S. GLATT (SBN 185708)
     KENNETH M. WEINFIELD (SBN 116560)
 2   CHAUVEL & GLATT, LLP
 3   66 BOVET ROAD, SUITE 280
     SAN MATEO, CA 94402
 4   TELEPHONE: 650-573-9500
 5   FACSIMILE: 650-573-9689
     EMAIL: april@chauvellaw.com
 6   EMAIL: ken@chauvellaw.com
 7
     Attorneys for Plaintiff International Freight Services, Inc.
 8
 9
                                      UNITED STATES DISTRICT COURT
10
                                   NORTHERN DISTRICT OF CALIFORNIA
11
12
      INTERNATIONAL FREIGHT SERVICES, Case No. 21-cv-07069 YGR
13    INC., a California corporation,
14                                      ORDER GRANTING STIPULATED
                             Plaintiff, PRELIMINARY INJUNCTION
15                                      [PROPOSED]
16    v.
17    GREEN WORLDWIDE SHIPPING, LLC, a                    DATE: November 3, 2021
18    Georgia limited liability company; MARY             TIME: 1:00 p.m.
      THOMPSON, an individual; FELICIA                    JUDGE: Hon. Yvonne Gonzalez Rogers
19    ADDISON, an individual; NATIVIDAD JUNI,             COURTROOM: 1, Fourth Floor
20    an individual; and DANIEL C. MCCARTHY,              LOCATION: 1301 Clay Street, Oakland, CA
      an individual,
21
22                           Defendants.
23
24          WHEREAS, a Temporary Restraining Order and Order to Show Cause Re: Preliminary
25   Injunction (“TRO and OSC”) was entered in this matter on October 20, 2021; and
26
            WHEREAS, after entry of the TRO and OSC the parties have reached agreement on measures
27
28   which extend and supplement its terms;
29         NOW, THEREFORE, plaintiff International Freight Services, Inc. and defendants Green
30
     Worldwide Shipping, LLC, Mary Thompson, Felicia Addison, Natividad Juni and Daniel C. McCarthy,
31



                                                         1
     STIPULATED PRELIMINARY INJUNCTION [PROPOSED]
             Case 4:21-cv-07069-YGR Document 10 Filed 10/27/21 Page 2 of 6




 1   by and through their respective counsel, hereby stipulate that during the pendency of this action,
 2   defendants Green Worldwide Shipping, LLC, Mary Thompson, Felicia Addison, Natividad Juni and
 3
     Daniel C. McCarthy, along with those acting in concert with them, shall be enjoined and restrained
 4
 5   from engaging in any of the following acts:
 6         1. Soliciting, contacting or attempting to contact persons or entities which were customers of
 7
               plaintiff at any time between 2012 and August 1, 2021, other than those set forth on Exhibit
 8
 9             A hereto;
10         2. Making any use or disclosure of any information obtained from plaintiff (apart from
11
               information pertaining to the entities set forth on Exhibit A hereto), including but not limited
12
13             to the identities of plaintiff’s customers or the latter’s key personnel, contact information and
14             particular needs;
15
           3. Continuing to do business with any persons or entities which were customers of plaintiff at
16
17             any time between 2012 and August 1, 2021, other than those set forth on Exhibit A hereto;
18         4. Communicating to any persons or entities that you are authorized to conduct business on
19
               behalf of any persons or entities which were customers of plaintiff at any time between 2012
20
21             and August 1, 2021, other than those set forth on Exhibit A hereto; and
22         5. Otherwise using or disclosing plaintiff’s customer data.
23
            IT IS FURTHER STIPULATED that, no later than Friday, October 29, 2021, defendants shall
24
25   provide to plaintiff’s counsel a list of all couriers (e.g., FedEx, UPS) and overseas agents with whom
26   they have altered any customs broker designations (import or export) on behalf of plaintiff’s customers,
27
     apart from those set forth on Exhibit A hereto, along with the identities of the customers affected as
28
29   well as the details of any shipments involving such customers which may have been impacted by
30   defendants’ actions.
31



                                                         2
     STIPULATED PRELIMINARY INJUNCTION [PROPOSED]
             Case 4:21-cv-07069-YGR Document 10 Filed 10/27/21 Page 3 of 6




 1          IT IS FURTHER STIPULATED that, no later than Wednesday, November 3, 2021, defendants
 2   and those acting in concert with them shall account for and return to plaintiff any and all of plaintiff’s
 3
     property in their possession or control, including its confidential, proprietary and trade secret
 4
 5   information, whether or not contained in defendants’ notebooks, documents, digital files, cloud storage,
 6   email, media and/or other materials.
 7
            IT IS FURTHER STIPULATED that, in the event defendants are henceforward contacted by
 8
 9   any of plaintiff’s customers (aside from those set forth in Exhibit A hereto), they shall promptly refer
10   such customers back to plaintiff for handling their shipping needs.
11
           IT IS FURTHER STIPULATED that this stipulated preliminary injunction shall issue without
12
13   the necessity of a bond.
14         IT IS FURTHER STIPULATED that the November 3, 2021 hearing date set in the TRO and
15
     OSC shall be vacated, along with the associated briefing schedule.
16
17   Dated: October 26, 2021                      CHAUVEL & GLATT, LLP
18                                                              /s/
19                                            By: ________________________________
                                                        Kenneth M. Weinfield
20                                               Attorneys for Plaintiff International Freight Services, Inc.
21
22
     Dated: October 26, 2021                      BURNHAM BROWN
23
24                                                              /s/
                                              By: ________________________________
25
                                                        Raymond Greene III
26                                               Attorneys for Defendants Green Worldwide Shipping, LLC,
                                                 Mary Thompson, Felicia Addison, Natividad Juni and
27
                                                 Daniel C. McCarthy
28
29
30
31



                                                          3
     STIPULATED PRELIMINARY INJUNCTION [PROPOSED]
             Case 4:21-cv-07069-YGR Document 10 Filed 10/27/21 Page 4 of 6




 1          Pursuant to the parties’ stipulation, and good cause appearing, IT IS HEREBY ORDERED that
 2   during the pendency of this action, defendants Green Worldwide Shipping, LLC, Mary Thompson,
 3
     Felicia Addison, Natividad Juni and Daniel C. McCarthy, along with those acting in concert with them,
 4
 5   are hereby enjoined and restrained from engaging in any of the following acts:
 6         1. Soliciting, contacting or attempting to contact persons or entities which were customers of
 7
               plaintiff at any time between 2012 and August 1, 2021, other than those set forth on Exhibit
 8
 9             A hereto;
10         2. Making any use or disclosure of any information obtained from plaintiff (apart from
11
               information pertaining to the entities set forth on Exhibit A hereto), including but not limited
12
13             to the identities of plaintiff’s customers or the latter’s key personnel, contact information and
14             particular needs;
15
           3. Continuing to do business with any persons or entities which were customers of plaintiff at
16
17             any time between 2012 and August 1, 2021, other than those set forth on Exhibit A hereto;
18         4. Communicating to any persons or entities that you are authorized to conduct business on
19
               behalf of any persons or entities which were customers of plaintiff at any time between 2012
20
21             and August 1, 2021, other than those set forth on Exhibit A hereto; and
22         5. Otherwise using or disclosing plaintiff’s customer data.
23
            IT IS FURTHER ORDERED that, no later than Friday, October 29, 2021, defendants shall
24
25   provide to plaintiff’s counsel a list of all couriers (e.g., FedEx, UPS) and overseas agents with whom
26   they have altered any customs broker designations (import or export) on behalf of plaintiff’s customers,
27
     apart from those set forth in Exhibit A hereto, along with the identities of the customers affected as
28
29   well as the details of any shipments involving such customers which may have been impacted by
30   defendants’ actions.
31



                                                         4
     STIPULATED PRELIMINARY INJUNCTION [PROPOSED]
               Case 4:21-cv-07069-YGR Document 10 Filed 10/27/21 Page 5 of 6




 1            IT IS FURTHER ORDERED that, no later than Wednesday, November 3, 2021, defendants and
 2   those acting in concert with them account for and return to plaintiff any and all of plaintiff’s property in
 3
     their possession or control, including its confidential, proprietary and trade secret information, whether
 4
 5   or not contained in defendants’ notebooks, documents, digital files, cloud storage, email, media and/or
 6   other materials.
 7
              IT IS FURTHER ORDERED that, in the event defendants are henceforward contacted by any of
 8
 9   plaintiff’s customers (aside from those set forth in Exhibit A hereto), they shall promptly refer such
10   customers back to plaintiff for handling their shipping needs.
11
             IT IS FURTHER ORDERED that this stipulated preliminary injunction shall issue without the
12
13   necessity of a bond.
14            IT IS FURTHER ORDERED that the November 3, 2021 hearing date set in the TRO and OSC
15
     shall be vacated, along with the associated briefing schedule.
16
17                  27 2021
     DATED: October __,
18
19
20
                                                  ___________________________________
21                                                      Yvonne Gonzalez Rogers
                                                  UNITED STATES DISTRICT JUDGE
22
     .
23
24
25
26
27
28
29
30
31



                                                         5
         STIPULATED PRELIMINARY INJUNCTION [PROPOSED]
              Case 4:21-cv-07069-YGR Document 10 Filed 10/27/21 Page 6 of 6




 1                                                      EXHIBIT A
 2
 3   1: Cadence

 4   2: Cinde K Dolphin dba Kili Carrier
 5   3: CRU Dataport
 6   4: Gilbane Federal
 7   5: Glass Coating Technology
 8
     6: Legacy Transportation
 9
     7: Mgwino Holdings LLC DBA Amedeo
10
     8: Packing Arts, Inc dba Affinity Creative Group
11
     9: Ralph’s-pugh Co, Inc
12
     10: Restoration Hardware
13
14   11: S3S USA LLC

15   12: Sonim Technologies

16   13: SRS Global Reach

17   14: The Hoover Institution
18
19
20
21
22
23
24
25
26
27
28
29
30
31



                                                           6
     STIPULATED PRELIMINARY INJUNCTION [PROPOSED]
